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16                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                 SAN FRANCISCO/OAKLAND DIVISION
18
     LESLIE BERLAND,                                  Case No. 24-cv-07589
19
                    Plaintiff,                        PLAINTIFF’S OPPOSITION TO
20
                                                      DEFENDANTS’ MOTION TO DISMISS
21   vs.                                              THE COMPLAINT’S SECOND CAUSE
                                                      OF ACTION
22   X CORP., f/k/a TWITTER, INC., X
     HOLDINGS, ELON MUSK, LINDSAY                     Date: April 1, 2025
23
     CHAPMAN, DHRUV BATURA, BRIAN                     Time: 10:00 a.m.
24   BJELDE, and TWITTER, INC. CHANGE OF              Place: Courtroom 8
     CONTROL AND INVOLUNTARY                          Judge: Hon. Jacqueline Scott Corley
25
     TERMINATION PROTECTION POLICY,
                                                      Complaint Filed: November 1, 2024
26
27                  Defendants.

28

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 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2     I.   INTRODUCTION
 3          In her Complaint, Plaintiff Leslie Berland pleaded four causes of action against
 4   Defendants arising out of Defendants’ wrongful attempt to deprive Plaintiff of severance and
 5   other benefits to which she was and is legally entitled. Defendants have now moved to dismiss
 6   one of those causes of action—for unlawful interference with a plan benefit in violation of
 7   ERISA § 510—on the narrow grounds that Plaintiff purportedly has not pleaded the availability
 8   of any form of equitable relief as a remedy for this violation. Defendants’ Motion, which does
 9   not dispute that Plaintiff has adequately pleaded every other element of her claim for unlawful
10   interference, should be denied because Plaintiff has adequately pleaded the availability of
11   equitable relief, including surcharge, front pay, back pay, restitution, and disgorgement, any one
12   of which is sufficient to require denial of the Motion.
13          First, Plaintiff has adequately pleaded the availability of the remedy of surcharge.
14   Defendants acknowledge that surcharge is an equitable remedy for an ERISA § 510 violation
15   but nonetheless argue that surcharge cannot be a remedy here because the ERISA Plan at issue
16   is a “top hat” plan to which no fiduciary duties apply. (Motion (“Mot.”) at 7-10.) This is so,
17   Defendants say, because the Plan was, among other things, maintained by Twitter “primarily for
18   the purpose of providing deferred compensation” to certain employees. (Mot. at 7 (quoting 29
19   U.S.C. § 1101(a)(1)).) There are at least two problems with Defendants’ argument.
20          For one thing, accepting Defendants’ argument would require the Court to make a
21   factual finding that the “primary purpose” of the Plan was to provide deferred compensation.
22   To do this, the Court would need to find, contrary to the language of the Plan documents
23   (which, among other things, expressly impose fiduciary duties inconsistent with a “top hat”
24   plan, see ECF No. 1-2 at 5) and Twitter’s public filings (which expressly disclaim the existence
25   of any “deferred compensation” plans in which the named executive officers were eligible to
26   participate, see ECF No. 30-3 at 71), that, in fact, Twitter intended for the Plan to be “primarily
27   for the purpose of providing deferred compensation” and that the Plan in fact did so. There is
28   no way for the Court to do this on a motion to dismiss, where any factual disputes must be

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 1   resolved in favor of Plaintiff. See, e.g., Tao v. Wu, No. C 11-3248 PJH, 2012 WL 1123540, at
 2   *1 (N.D. Cal. Apr. 3, 2012) (“The question of whether, in practice, the [] plan functioned as a
 3   top hat plan—and therefore was, in fact a top hat plan—is fundamentally a factual one, and it
 4   must be resolved with a proper factual and evidentiary record.”).
 5          For another thing, contrary to Defendants’ arguments, the Plan simply cannot be a “top
 6   hat” plan because it is not a plan of deferred compensation. (See ERISA §§ 201(2), 301(a)(3),
 7   401(a)(1), 29 U.S.C. §§ 1051(2), 1081(a)(3), 1101(a)(1) (defining top hat plan as a plan
 8   maintained by an employer “primarily for the purpose of providing deferred compensation for a
 9   select group of management or highly compensated employees”).) Instead, as the Plan itself
10   says, it “is designed to be an ‘employee welfare benefit plan,’ as defined in Section 3(1) of
11   [ERISA],” to provide a “lump-sum severance payment.” (ECF No. 1-2 at 1.) The only
12   “deferral” Defendants identify is that the lump sum payment will be made “on the 61st day
13   following [a] Qualified Termination” and the possibility that, in certain circumstances where the
14   IRS deems the lump-sum severance payment to be “deferred compensation under Section
15   409A,” the payment might be made approximately six months later in order to comply with
16   Section 409A of the Internal Revenue Code. (Mot. at 8-9.) Nothing in the Plan remotely
17   suggests that “the nature of the benefit furnished” is “a pension plan [that] provides retirement
18   income or other deferred income” as opposed to “a welfare plan [that] provides benefits upon
19   the occurrence of various specified contingencies.” Gilliam v. Nevada Power Co., 488 F.3d
20   1189, 1193 n.5 (9th Cir. 2007) (quoting 1 ERISA Practice & Procedure §§ 2:5, 2-16 to -17
21   (Clark Boardman Callaghan 2d ed. 2005)). To the contrary, everything in the Plan—from its
22   description that it “is designed to provide certain protections . . . if” specified events occur (ECF
23   No. 1-2 at 1 (emphasis added)); to its description as “an ‘employee welfare benefit plan,’ as
24   defined in Section 3(1) of [ERISA],” (id. at 1)); to its provision for a “lump-sum severance
25   payment” (id. at 2)—shows that the plan is not a plan of “deferred compensation” and therefore
26   cannot be a “top hat” plan. Consistent with all of this, and as Defendants strikingly fail to
27   acknowledge, Judge Chesney has already decided in Agrawal v. Musk, No. 24-cv-01304-MMC,
28   2024 WL 4654442 (N.D. Cal. Nov. 1, 2024), and Caldwell v. Musk, No. 24-cv-02022-MMC,

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 1   2024 WL 4654272 (N.D. Cal. Nov. 1, 2024), that surcharge is available as a remedy to redress
 2   an ERISA § 510 violation under this very same Plan.1 These are reasons enough to deny
 3   Defendants’ Motion.
 4           Second, Plaintiff has adequately pleaded the availability of the remedy of front pay,
 5   which is another equitable remedy and reflects the amounts Plaintiff would have earned in the
 6   future absent the violation. Defendants do not dispute that front pay is also an equitable remedy
 7   that, if adequately pleaded, warrants denial of the Motion. Instead, Defendants argue that
 8   Plaintiff cannot establish “any expectation of remaining employed at Twitter following the
 9   October 2022 acquisition” because, as Defendants read the Complaint, “[i]f anything, Plaintiff
10   alleges that her employment at Twitter post-acquisition was in doubt, given that other
11   executives were terminated, as is common following any public-to-private corporate
12   acquisition.” (Mot. at 13 (citing Complaint ¶ 56, which alleges that Defendant Elon Musk
13   “fired several Twitter executives,” notably excluding Plaintiff).) But here again, Defendants
14   forget that a motion to dismiss does not permit a movant to draw factual inferences in its own
15   favor; rather, all well-pleaded facts must be accepted as true, and all inferences therefrom must
16   be drawn in favor of Plaintiff. And a review of Plaintiff’s Complaint more than establishes that
17   she had an expectation of remaining employed following the October 2022 acquisition,
18   including the facts (1) that Plaintiff was not initially terminated with the other executives (and
19   did not resign her position) but instead remained employed beyond the acquisition date; (2)
20   that Plaintiff was “[s]urprised” by her termination, which came notwithstanding Plaintiff’s
21   ongoing post-acquisition assistance to Defendant Musk and Musk’s own Chief of Staff’s
22   assurance that Plaintiff was “the only one here [at Twitter] that Elon trusts”; and (3) that, on the
23   day of her termination, Plaintiff expressed that she was “rooting for” and “care[d] deeply about
24   Twitter” and its team and the “massive” opportunity it had ahead of it. (Compl. ¶¶ 4-8.) The
25   only inference the Court can draw from the Complaint at this stage is that Plaintiff had expected
26
27   1
      Defendants advanced their “top hat” argument before Judge Chesney, but she disregarded it
     because it was raised for the first time in reply. See Caldwell, 2024 WL 4654272, at *5 n.5.
28

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 1   to remain at Twitter notwithstanding the acquisition, as she in fact did until the moment
 2   Defendant Musk terminated her. Whether Plaintiff can ultimately prove her entitlement to front
 3   pay is a matter for another day; for purposes of the Motion, Plaintiff has more than adequately
 4   pleaded front pay as an available remedy.
 5          Third, Plaintiff has also adequately pleaded the availability of equitable relief in the
 6   forms of back pay, restitution, and disgorgement. Although Defendants confidently assert that
 7   back pay “is simply not equitable relief under ERISA”, the Sixth Circuit disagrees, and the
 8   Ninth Circuit has reserved judgment on this question. Courts within the Ninth Circuit have
 9   nonetheless followed the Sixth Circuit in finding that back pay is a form of equitable relief
10   available under ERISA. With respect to restitution and disgorgement, Defendants do not
11   dispute that such remedies are equitable; instead, they complain that Plaintiff has failed to
12   identify the specific accounts in which her funds are being held. But this is a high bar of
13   Defendants’ own invention. The Ninth Circuit permits plaintiffs to allege generally that
14   Defendants are in possession of property belonging to a plaintiff, and Plaintiff here easily clears
15   this hurdle in light of her allegations, among others, that she was terminated with an eye
16   towards depriving her of specific benefits (including, but not limited to, a payment she was due
17   to receive on November 1, 2022, the day of her termination), all of which gives rise to an
18   inference that Plaintiff’s property has been specifically identified by Defendants. The facts
19   uniquely in the possession of Defendants—such as the account in which Plaintiff’s funds were
20   held, and where those funds have gone since—will of course need to be developed in
21   discovery. But that is not a reason to conclude, at this early stage of the case, that there is no set
22   of facts on which Plaintiff can establish a remedy for Defendants’ wrongdoing.
23          Because Plaintiff has adequately pleaded several forms of available equitable relief, any
24   one of which is sufficient to deny the Motion, Defendants’ Motion must be denied.
25    II.   STATEMENT OF RELEVANT FACTS
26          A.      Pertinent Terms of the Plan and Plaintiff’s Participation Agreement.
27          The Twitter, Inc. Change of Control and Involuntary Termination Protection Policy (the
28   “Plan”), by its terms, is “designed to be an ‘employee welfare benefit plan’ as defined in

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 1   Section 3(1) of [ERISA].” (ECF No. 1-2, at 2; see 29 U.S.C. § 1002(1).) As Twitter stated in
 2   its 2022 Proxy Statement, the company offered this welfare benefit plan because it believed that
 3   “to properly motivate and incentivize our executive team in the event of a change of control and
 4   to the possibility of a termination without ‘cause’ or a termination with ‘good reason,’ a
 5   standardized ‘double trigger’ change of control and severance policy is critical. Each NEO
 6   [named executive officer] that remains employed with us participates in our Severance Policy,
 7   which provides standardized payments and benefits to the NEOs in the event of a termination
 8   without ‘cause’ by us or termination for ‘good reason’ by the participant, whether or not in
 9   connection with a change of control, to make these benefits consistent among the executives
10   who have these arrangements.” (ECF No. 30-3 at 72.)
11          Plaintiff, via her Participation Agreement (ECF No. 1-3), was designated as an
12   employee eligible to participate in the Plan. The “Change of Control Severance Benefits”
13   provided by the Plan include a cash severance paid as a “lump sum” on the sixty-first day
14   following a Qualified Termination, COBRA premiums to cover a specified period of time, and
15   immediate acceleration of equity vesting. (ECF No. 1-2 at 2-3.) Payment of Plan benefits is
16   contingent on a specified set of events, including an “Involuntary Termination” during a
17   “Change of Control Period.” (Id. at 2.) The Plan defines an Involuntary Termination as “a
18   termination of employment by the Company other than for Cause, death or Disability or a
19   termination of employment by [the employee] for Good Reason” (id. at 4), and “Cause” as:
20
                    (a) your unauthorized use or disclosure of the Company’s
21                  confidential information or trade secrets, which use or disclosure
                    causes material harm to the Company; (b) your breach of any
22                  agreement between you and the Company; (c) your failure to
                    comply with the Company’s written policies or rules, including its
23
                    code of conduct; (d) your conviction of, or plea of “guilty” or “no
24                  contest” to, a felony under the laws of the United States or any state
                    thereof; (e) your gross negligence or willful misconduct in the
25                  performance of your duties; (f) your continuing failure to perform
                    assigned duties after receiving written notification of the failure
26
                    from the Board (or for Eligible Employees other than the Chief
27                  Executive Officer, from the Chief Executive Officer); or (g) your
                    failure to cooperate in good faith with a governmental or internal
28                  investigation of the Company or its directors, officers or employees,

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                    if the Company has requested your cooperation; provided, however,
 1
                    that “Cause” will not be deemed to exist in the event of subsections
 2                  (b), (c) or (f) above unless you have been provided with (i) 30 days’
                    written notice by the Board [of] the act or omission constituting
 3                  “Cause” and (ii) 30 days’ opportunity to cure such act or omission,
                    if capable of cure.
 4
     (Id. at 3.)
 5
             The Plan also states that “[t]he Administrator is the ‘named fiduciary’ of the Policy for
 6
     purposes of ERISA and will be subject to the fiduciary standards of ERISA when acting in such
 7
     capacity.” (Id. at 5.) Twitter has consistently maintained that the Plan is subject to the fiduciary
 8
     standards of ERISA, including in a June 6, 2022 letter (the “Claim Denial Letter”) from
 9
     Defendant Lindsay Chapman (“Chapman”) wherein Chapman identified herself as the
10
     “Administrator” of the Plan, proffered “Relevant Plan Provisions,” and reconfirmed that the
11
     Plan’s “Administrator” is “the ‘named fiduciary’ of the Policy for purposes of ERISA and will
12
     be subject to the fiduciary standards of ERISA when acting in such capacity.” (See Declaration
13
     of Gabriella E. Bensur in Support of Plaintiff’s Request for Incorporation by Reference and
14
     Request for Judicial Notice in Opposition to Defendants’ Motion to Dismiss (“Bensur Decl.”)
15
     Ex. A at 1-2, 4.) Further, Twitter’s Proxy Statement filed with the SEC states that aside from a
16
     401(k) plan, Twitter does not maintain any retirement or “deferred compensation” plans in
17
     which the named executive officers, including Plaintiff, were eligible to participate. (ECF No.
18
     30-3 at 71.)
19
             B.     Musk’s Takeover of Twitter Results in Defendants Unlawfully Denying
20
                    Other Twitter Executives Their Severance Benefits.
21
             Musk agreed to buy Twitter for $44 billion in April 2022, but then attempted to back out
22
     of the deal. (Compl. ¶ 48.) Twitter sued Musk to enforce the agreement, resulting in Musk
23
     capitulating, but leaving him with hard feelings towards most of Twitter’s executives. (Id. ¶¶ 6,
24
     47-51.) In the days leading up to the deal closing on October 27, 2022, Musk was aware that
25
     certain executives would be entitled to payments under the Plan and another ERISA-governed
26
     plan that required change-of-control severance, totaling approximately $200 million. (Id. ¶ 52.)
27
     Musk put into action a scheme to unlawfully deprive multiple of those executives of their
28

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 1   employment benefits that were earned and owed under the Plan. (Id. ¶ 53.) Remarkably, just
 2   before taking control of Twitter, Musk and his lawyers bragged to Walter Isaacson, Musk’s
 3   authorized biographer, that Musk would intentionally terminate Twitter executives to deprive
 4   them of their benefits, outlining his plan to “force a fast close” so Musk “could fire . . . top
 5   Twitter executives ‘for cause’ before their stock options could vest.” (Id. ¶ 54.) Minutes after
 6   he acquired Twitter, Musk fired several Twitter executives, including CEO Parag Agrawal
 7   (“Agrawal”), CFO Ned Segal (“Segal”), Chief Legal Officer Vijaya Gadde (“Gadde”), and
 8   General Counsel Sean Edgett (“Edgett”). Musk and his counsel Alex Spiro (“Spiro”)
 9   acknowledged that Agrawal had “tried to resign” but boasted “we beat him.” (Id. ¶ 6.) Musk
10   also characterized these terminations as “for Cause” in an attempt to circumvent the “Change of
11   Control” provisions in the Plan and deny these executives their benefits. Those denials are the
12   subject of ongoing litigation before this Court and before Judge Chesney. (See Agrawal v.
13   Musk, Case No. 3:24-cv-01304-MMC (N.D. Cal.); Kaiden v. Musk., Case No. 4:24-cv-03554-
14   MMC (N.D. Cal.); Caldwell v. Musk, Case No. 3:24-cv-02022-MMC (N.D. Cal.); Personette v.
15   Musk, Case No. 3:24-cv-06266-JCS (N.D. Cal.).)
16          C.      Musk and His Team Rely Heavily on Plaintiff During the Transition.
17          Unlike Agrawal, Segal, Gadde, and Edgett, Plaintiff was not initially a target of Musk’s
18   “fast close” strategy involving pretextual “for Cause” terminations. Instead, leading up to,
19   during, and throughout the days following the closing, Plaintiff was Musk’s primary contact
20   with Twitter, the only Twitter executive with whom Musk was communicating, and the only
21   Twitter executive team member Musk or his team asked for assistance during the ownership
22   transition. (Compl. ¶ 58.) Plaintiff communicated directly and extensively with Musk in the
23   days leading up to and after the closing. (Id. ¶ 59.)
24          At Musk’s request, and after receiving approval from the CEO and CFO, Plaintiff flew
25   from New York to San Francisco on less than one day’s notice to receive Musk upon his arrival
26   at company headquarters on October 26, 2022. (Compl. ¶ 62.) After being an instrumental part
27   of Musk’s visit to Twitter headquarters, on October 27, 2022, Plaintiff flew back to New York
28   at the request of Musk’s team to meet with Musk’s advisor, Antonio Gracias, the following day.

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 1   (Id. ¶ 66.) Thereafter, and after the merger closed, Musk continued to consult with Plaintiff on
 2   important and substantive matters. (Id. ¶ 67-68.) Plaintiff assisted Musk in scheduling his
 3   meetings in New York days after the merger closed, and she continued working on the
 4   transition, sharing lists of critical talent to retain across the company, introducing and
 5   connecting key leads to Musk’s team, and working on Musk’s plans for a reduction in force.
 6   (Id.) Musk continued to trust Plaintiff, sharing the details of his proposed staffing cuts and
 7   discussing whether employees would “get their vest” of options. (Id. ¶ 68.) On October 31,
 8   2022, Musk’s Chief of Staff Jehn Balajadia sought to connect Plaintiff to Spiro, Musk’s lawyer,
 9   further demonstrating Plaintiff’s functioning relationship with Musk. (Id. ¶ 70.)
10          D.      Musk Terminates Plaintiff and Unlawfully Manufactures “for Cause”
11                  Justifications to Deprive Her of Her Severance Benefits.
12          But Plaintiff’s relationship with Musk suddenly changed. Several days after the closing,
13   Musk traveled to New York to, among other things, meet with advertisers and Twitter
14   personnel. (Compl. ¶ 71.) Because Twitter Chief Commercial Officer, Sarah Personette, had
15   just resigned, on October 29, 2022, Plaintiff suggested that Musk meet with the company’s
16   Head of Global Sales, JP Maheu (“Maheu”), once Musk arrived in New York. (Id. ¶ 71.) On
17   October 31, 2022, during a meeting with Twitter advertisers, Maheu second-guessed Musk. (Id.
18   ¶ 76.) Embarrassed and upset at being questioned, Musk blamed Plaintiff for Maheu’s
19   behavior, texting her just after midnight: “[Maheu] is not going to work out. Bad
20   recommendation.” (Id.)
21          The next morning, November 1, 2022, just hours after Musk’s “Bad recommendation”
22   text, Plaintiff was fired from Twitter. (Compl. ¶¶ 8, 77.) This was a surprising turn of events
23   for Plaintiff, who was faithfully assisting Musk with no intention to resign and “care[d] deeply
24   about Twitter.” (See id. ¶ 8.) Other than the purported “Bad recommendation,” neither Musk
25   nor anyone else at the company identified any reasons or cause for the termination, nor did
26   Musk or anyone else tell Plaintiff that she was terminated “for Cause.” (Id. ¶¶ 7-8.) At
27   approximately the same time, Maheu was also fired. (Id. ¶¶ 8, 77.)
28          It was not until weeks later that Musk sent Plaintiff a letter dated November 27, 2022,

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 1   notifying her that she had purportedly been terminated “for Cause” as of November 1, 2022.
 2   (Compl. ¶ 81.) Musk’s letter did not specify what conduct Plaintiff had engaged in that
 3   supposedly was the “Cause” for her termination, but rather only generally alleged that Plaintiff
 4   had failed to comply with the Twitter’s “written policies” and engaged in “gross negligence or
 5   willful misconduct,” parroting the language of the Plan’s “for Cause” provision. (Id. ¶¶ 39, 81-
 6   82.) Musk’s unilateral decision to retroactively deem Plaintiff’s termination as “for Cause”
 7   under the Plan formed the basis for the eventual denial of Plaintiff’s claim for benefits under the
 8   Plan. (Id. ¶¶ 84-90, 99-174.)
 9          Months later, Chapman articulated newly manufactured justifications for Plaintiff’s
10   purported “for Cause” termination in her denial of Plaintiff’s claim. (Compl. ¶ 89.) One was
11   that Twitter had been mismanaged prior to Musk’s acquisition, which was the same
12   manufactured “Cause” Musk had used against the other executives he fired before Plaintiff. (Id.
13   ¶ 11.) The second was that Plaintiff had distributed amongst her team a modest bonus pool that
14   the company had allocated to her department, which Plaintiff had done only after Twitter’s in-
15   house and outside legal counsel had confirmed that such bonuses were consistent with the
16   merger agreement. (Id.) The third was that Plaintiff had traveled by charter plane to assist
17   Musk upon his initial arrival at Twitter on October 26 and 27, 2022, which Plaintiff had done
18   only with the express approval of the CEO and CFO in order to accommodate Musk’s own
19   requests. (Id. ¶¶ 11, 119-125.) None of these was the real reason Musk fired Plaintiff, and,
20   regardless, the facts do not support any of these purported explanations as a legitimate basis for
21   a “for Cause” termination as defined in the Plan. (Id. ¶¶ 11, 99-180) Musk’s decision to
22   terminate Plaintiff and deem that termination “for Cause” was designed to interfere with
23   Plaintiff’s rights to her severance benefits under the Plan. (See id. ¶¶ 83, 177-180.)
24          Plaintiff brought four causes of action to remedy Defendants’ wrongdoing in connection
25   with her termination of employment: (1) a claim for Plan benefits pursuant to ERISA
26   § 502(a)(1)(B); (2) a claim under ERISA § 510 for unlawfully interfering with her right to
27   obtain severance benefits; (3) a claim for breach of contract; and (4) a claim for breach of the
28   implied covenant of good faith and fair dealing. The only question presented on this Motion is

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 1   whether Plaintiff has adequately pleaded the availability of any equitable remedy for
 2   Defendants’ violation of ERISA § 510.
 3   III.    LEGAL STANDARD
 4           On a motion to dismiss for failure to state a claim pursuant to Federal Rule of Civil
 5   Procedure 12(b)(6), the Court must “accept the factual allegations of the complaint as true and
 6   construe them in the light most favorable to the plaintiff.” Bafford v. Admin. Comm. of
 7   Northrop Grumman Pension Plan, 101 F.4th 641, 648 (9th Cir. 2024). Defendants may not
 8   “present their own version of the facts at the pleading stage.” Khoja v. Orexigen Therapeutics,
 9   Inc., 899 F.3d 988, 999 (9th Cir. 2018). Generally, courts disfavor motions to dismiss under
10   Rule 12(b)(6). See Broam v. Bogan, 320 F.3d 1023, 1028 (9th Cir. 2003) (dismissal with
11   prejudice proper only in “extraordinary” cases). “A complaint should not be dismissed unless it
12   appears beyond doubt that the plaintiff cannot prove any set of facts that would entitle him or
13   her to relief.” Nursing Home Pension Fund, Loc. 144 v. Oracle Corp., 380 F.3d 1226, 1229
14   (9th Cir. 2004). The motion should be denied if the complaint contains “sufficient factual
15   matter, accepted as true, to state a claim to relief that is plausible on its face; that is, plaintiff
16   must ‘plead[ ] factual content that allows the court to draw the reasonable inference that the
17   defendant is liable[.]’” Khoja, 899 F.3d at 1008 (internal citations omitted); Ashcroft v. Iqbal,
18   556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).
19           Review of a motion to dismiss is “generally limited to the face of the complaint,” but a
20   court may consider “materials incorporated into the complaint by reference, and matters of
21   which [it] may take judicial notice.” In re Rigel Pharms., Inc. Sec. Litig., 697 F.3d 869, 875-76
22   (9th Cir. 2012). Defendants’ Request for Judicial Notice (ECF No. 30) and Plaintiff’s
23   accompanying Request for Incorporation by Reference and Request for Judicial Notice ask the
24   Court to consider both types of materials.
25   IV.     ARGUMENT
26           Defendants’ Motion must be denied because the Complaint adequately pleads the
27   availability of equitable remedies for Defendants’ violation of ERISA § 510. Those remedies
28   include surcharge, front pay, back pay, restitution, and disgorgement, any one of which is

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 1   sufficient to deny the Motion.
 2                  A. The Complaint Adequately Pleads the Availability of Surcharge.
 3          Defendants concede that surcharge is a form of equitable relief that the Court may
 4   properly award in ERISA cases entailing breaches of fiduciary duty. (Mot. at 7.) Defendants
 5   nonetheless erroneously argue that surcharge is unavailable under the Plan because it is a “top
 6   hat” plan exempt from ERISA’s fiduciary provisions.
 7          Judge Chesney has already addressed whether surcharge is an available equitable
 8   remedy for ERISA § 510 violations pertaining to this exact Plan, holding that the plaintiffs in
 9   the Agrawal and Caldwell cases adequately alleged that Musk acted as a fiduciary such that the
10   remedy of surcharge was available. See Agrawal, 2024 WL 4654442, at *4-5; Caldwell, 2024
11   WL 4654272, at *5-6. Tellingly, despite being represented by the same counsel, and despite
12   including ten different references to the Agrawal and Caldwell decisions in their Motion (see
13   Mot. at 11-13), Defendants omit any mention of Judge Chesney’s ruling with respect to
14   surcharge. More particularly, Defendants offer no explanation for how the Plan could both
15   impose fiduciary duties as decided in Agrawal and Caldwell, but also constitute a “top hat” plan
16   exempt from ERISA’s fiduciary duties here. Nor could they—the cases involve the same Plan.
17          In any event, unhappy with Judge Chesney’s decision, Defendants press here the
18   argument that the Plan is a “top hat” plan that relieves them of any fiduciary duty with respect
19   to Plaintiff. This position is a dramatic reversal from the position taken by the purported
20   Administrator of the Plan, Defendant Lindsay Chapman, who previously confirmed in writing
21   that she was the Administrator of the Plan, with the fiduciary duties attached to that role. (Ex.
22   A at 1-2, 4.) It is also flatly contradicted by the Plan documents and by Twitter’s own public
23   statements regarding the Plan, all of which confirm that the Plan is—and was intended to be—a
24   welfare plan subject to ERISA’s fiduciary duty provisions, not a “top hat” deferred
25   compensation plan exempted from those duties. (ECF No. 1-2 at 1 (“The Policy is designed to
26   be an ‘employee welfare benefit plan’ as defined in Section 3(1) of [ERISA] . . . .”), 5 (“The
27   Administrator is the ‘named fiduciary’ of the Policy . . . and will be subject to the fiduciary
28   standards of ERISA . . . .”).) These inconsistencies demonstrate the most fundamental flaw

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 1   with Defendants’ Motion—the only way the Court could find at this stage that the Plan is a “top
 2   hat” plan exempt from ERISA’s fiduciary duty requirements would be to discard Plaintiff’s
 3   allegations (and, indeed, overwhelming evidence) that the Plan was intended to be a welfare
 4   plan subject to ERISA’s fiduciary provisions, not a plan “primarily for the purpose of providing
 5   deferred compensation” to Plaintiff and other employees. See ERISA §§ 201(2), 301(a)(3),
 6   401(a)(1), 29 U.S.C. §§ 1051(2), 1081(a)(3), 1101(a)(1). That is not something Defendants can
 7   ask the Court to do at this stage, where the Court must take the factual allegations as true and
 8   must also make all reasonable factual inferences in favor of Plaintiff. See Bafford, 101 F.4th at
 9   648. Rather, to the extent Defendants seek to overcome the Plan’s own language and their own
10   past statements by trying to create a factual dispute regarding the Plan’s nature, they must at
11   minimum wait until later to do so. See, e.g., Tao, 2012 WL 1123540, at *1 (“The question of
12   whether, in practice, the [] plan functioned as a top hat plan—and therefore was, in fact a top hat
13   plan—is fundamentally a factual one, and it must be resolved with a proper factual and
14   evidentiary record.” (citing Credit Managers Ass’n v. Kennesaw Life & Acc. Ins. Co., 809 F.2d
15   617, 625 (9th Cir.1987) (“[T]he existence of an ERISA plan is a question of fact, to be
16   answered in the light of all the surrounding circumstances from the point of view of a
17   reasonable person”))); Kurisu v. Svenhard Swedish Bakery Supplemental Key Mgmt. Ret. Plan,
18   No. 20-cv-06409-EMC, 2021 WL 3271252, at *10 (N.D. Cal. July 30, 2021) (“[T]he Court
19   holds that there is a factual question as to whether the written Plan constitutes a top hat plan,
20   and thus dismissal of the claim for equitable relief at this time is not appropriate.”); Black v.
21   Greater Bay Bancorp Exec. Supplemental Comp. Benefits Plan, No. 16-CV-00486-EDL, 2016
22   WL 11187255, at *13 (N.D. Cal. July 25, 2016) (declining to dismiss breach of fiduciary duty
23   claim on the basis of whether a plan was a top hat plan at the pleading stage). For this reason
24   alone, Defendants’ Motion can and should be denied.
25          But Defendants’ argument suffers from another flaw, which is that the Defendants
26   cannot show that the Plan is a top hat plan. ERISA top hat plans are a narrow subset of pension
27   plans exempt from ERISA fiduciary duties, and the Plan at issue in this case is not a pension
28   plan, nor does it meet the specific criteria that a pension plan must meet to constitute a top hat

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 1   plan. The text of the Plan, the Plan Administrator’s own letter, and Twitter’s SEC filings all
 2   indicate that the Plan is subject to ERISA fiduciary duties and is not a top hat plan, rendering
 3   Defendants unable to demonstrate that the Plan is a top hat plan. See Alexander v. Brigham &
 4   Women’s Physicians Org., Inc., 467 F. Supp. 2d 136, 142 (D. Mass. 2006), aff’d, 513 F.3d 37
 5   (1st Cir. 2008). For this independent reason, the Motion must be denied.
 6                  1. Top Hat Plans Are a Subset of ERISA Pension Plans.
 7           An ERISA top hat plan is a specific, and narrow, type of pension plan. The Plan here is
 8   a welfare plan, and not a top hat plan or any other type of pension plan.2
 9           ERISA divides employee benefit plans into two broad categories: pension (or
10   retirement) plans, and welfare plans. 29 U.S.C. § 1002(1), (2); see Gilliam, 488 F.3d at 1193
11   n.5. The difference between the two is “the nature of the benefit furnished—a pension plan
12   provides retirement income or other deferred income, while a welfare plan provides benefits
13   upon the occurrence of various specified contingencies.” Gilliam, 488 F.3d at 1193 n.5 (citation
14   omitted). As the Ninth Circuit has articulated, “[t]op hat plans represent a special category of
15   ERISA pension benefit plans.” Id. (internal quotation and citation omitted); see also Carr v.
16   First Nationwide Bank, 816 F. Supp. 1476, 1488 (N.D. Cal. 1993) (“it is clear that Top Hat
17   plans are also not ‘welfare benefit plans’”). Likewise, the United States Department of Labor
18   (“DOL”), Employee Benefits Security Administration (“EBSA”), which administers and
19   enforces Title I of ERISA, confirms that “[t]op hat plans are unfunded or insured pension plans”
20   for a select group of management or highly compensated employees. EBSA website, “Top Hat
21   Plan Statement,” available at https://www.dol.gov/agencies/ebsa/employers-and-advisers/plan-
22   administration-and-compliance/reporting-and-filing/e-file/tophat-plan-filing-instructions.
23
     2
       In their reply brief in further support of their motion to dismiss the ERISA § 510 claim in
24   Personette, Defendants cite two out of circuit, unpublished cases for the proposition that
     welfare benefit plans can be top hat plans: Managing Directors’ Long Term Incentive Plan ex
25
     rel. Comm. v. Boccella, 2015 WL 2130876, at *1 (S.D.N.Y. May 6, 2015); and Mothe v. Mothe
26   Life Ins. Co., 2012 WL 1565290, at *2 (E.D. La. Apr. 30, 2012). Neither authority is helpful, as
     the language Defendants quote does not contain holdings of those courts, but rather positions
27   taken by the parties. Neither of those courts made any finding that top hat plans were or could
     be ERISA welfare plans.
28

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 1          If a plan is a pension plan, then it can constitute a top hat plan only if it is “unfunded and
 2   [] maintained by an employer primarily for the purpose of providing deferred compensation for
 3   a select group of management or highly compensated employees.” Gilliam, 488 F.3d at 1192-
 4   93 (quoting ERISA §§ 201(2), 301(a)(3), 401(a)(1), 29 U.S.C. §§ 1051(2), 1081(a)(3),
 5   1101(a)(1)). “The elements of this definition make the top hat category a narrow one,” and thus
 6   “top hat plans form a rare sub-species of ERISA plans.” In re New Valley Corp., 89 F.3d 143,
 7   148 (3d Cir. 1996).
 8          Although top hat plans are subject to ERISA preemption and limitations on remedies,
 9   they are exempt from certain ERISA requirements imposed on other pension plans, including
10   minimum participation standards, vesting standards, funding requirements, and ERISA’s
11   fiduciary standards. ERISA §§ 201(2) (participation and vesting), 301(a)(3) (funding),
12   401(a)(1) (fiduciary responsibilities), 29 U.S.C. §§ 1051(2), 1081(a)(3), 1101(a)(1); see ERISA
13   §§ 502 (civil enforcement), 514 (preemption of state laws), 29 U.S.C. §§ 1132, 1144. Their
14   exemption from funding, participation, and vesting requirements further confirms that top hat
15   plans are a type of pension plan, because these ERISA requirements do not even apply to
16   welfare benefit plans. See ERISA §§ 201(1), 301(a)(1), 29 U.S.C. §§ 1051(1), 1081(a)(1); cf.
17   ERISA § 401(a), 29 U.S.C. § 1101(a) (fiduciary requirements generally applicable to welfare
18   plans and pension plans, but not top hat pension plans).
19                  2. The Plain Language of the Plan Demonstrates That It Is a Welfare Plan
20                      Designed to Protect Participants in the Event of a Company Change in
21                      Control.
22          The plain language of the Plan demonstrates that it is—and was intended to be—a
23   welfare plan, not a top hat plan, or any other type of pension plan. The “actual language of the
24   plan” is an important factor for a court to consider in determining what type of plan is at issue.
25   See Bakri v. Venture Mfg. Co., 473 F.3d 677, 678 (6th Cir. 2007). Several cases relied on by
26   Defendants confirm the importance courts place on the plan’s “plain language” in determining
27   the plan’s type and purpose. See Collazo v. Infonet Servs. Corp., No. CV-13-02206-
28   PSG(AGRX), 2015 WL 13917163, at *1 (C.D. Cal. Apr. 8, 2015) (rejecting claim on a motion
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 1   to dismiss that the plan at issue was something other than a retirement plan, where the plan itself
 2   “clearly states that the purpose of the plan is to ‘provide pension benefits’”); Colburn v. Hickory
 3   Springs Mfg. Co., 448 F. Supp. 3d 512, 523 (E.D.N.C. 2020) (in analyzing top hat plan status,
 4   “[o]f particular importance was the plan’s express terms.”); Callan v. Merrill Lynch & Co, No.
 5   09 CV 0566 BEN (BGS), 2010 WL 3452371, at *12 (S.D. Cal. Aug. 30, 2010) (court
 6   considered language in plan document in determining what type of plan it was).
 7           Here, on its face, the Plan states unequivocally that it is “designed to be an ‘employee
 8   welfare benefit plan’” under ERISA, and that its aim is “to provide certain protections to a
 9   select group of key Twitter, Inc. . . . employees if their employment is negatively affected by a
10   change of control of Twitter.” (ECF No. 1-2 at 2.) Thus, in addition to explicitly saying that it
11   is a welfare (and not a pension) plan, the Plan’s stated purpose fits squarely within the Ninth
12   Circuit’s description of welfare benefit plans: it provides benefits upon the occurrence of
13   specified contingencies. See Gilliam, 488 F.3d at 1193, n.5. Specifically, severance benefits
14   are owed under the Plan if there is a Change of Control at Twitter, and if the participant
15   experiences an Involuntary Termination within twelve months, as those terms are defined in the
16   Plan. (ECF No. 1-2 at 2-5.)3
17           Defendants wrongly assert that the Plan’s primary purpose and benefit is to provide
18   deferred compensation. (See Mot. at 8.) They rely on the Plan’s reference to “deferred
19   compensation,” but that is nothing more than boilerplate language under Internal Revenue Code
20   Section 409A, which addresses deferral of taxation on compensation that otherwise would be
21   subject to immediate taxation. Specifically, the Plan says, “[t]he Company intends that all
22   payments and benefits provided under this Policy or otherwise are exempt from, or comply
23   with, the requirements of Section 409A,” and any payments a person receives – from the Plan or
24   otherwise – that are considered deferred compensation under Section 409A, “if any,” will be
25   paid in compliance with Section 409A. (ECF No. 1-2 at 4.) But all this language does is say
26
27   3
      Furthermore, Twitter never filed a top hat plan registration statement with the Department of
     Labor, again showing that the Plan is not a top hat plan. (See Bensur Decl. ¶ 3.)
28

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 1   that the Plan sponsor is aware of Section 409A, and that it intends to comply with this law to
 2   ensure that if benefits under the Plan are characterized by the IRS as deferred compensation,
 3   then they will not be taxable to the employee in the year of deferral but rather when they are
 4   received. This language does not actually characterize the payment of Plan benefits as being
 5   subject to Section 409A, or as being deferred compensation. To the contrary, it is obvious from
 6   the Plan terms that participants deferred nothing; prior to the contingent events occurring
 7   (Change of Control, and Involuntary Termination within twelve months), a participant has no
 8   immediate right to receive the amounts provided by the Plan, and thus has no risk of immediate
 9   taxation. In any event, whether a particular payment is found to be subject to Section 409A is a
10   separate inquiry from whether a plan is designed “primarily for the purpose of providing
11   deferred compensation” for purposes of determining whether it constitutes a top hat pension
12   plan. See Gilliam, 488 F.3d at 1192-93.
13          Furthermore, the plain language of the Plan document confirms that the Compensation
14   Committee of the Twitter Board “is the ‘named fiduciary’ of the Policy for purposes of ERISA
15   and will be subject to the fiduciary standards of ERISA when acting in such capacity.” (ECF
16   No. 1-2 at 5.) But as discussed above, top hat plans are exempt from fiduciary rules. ERISA §
17   401(a)(1), 29 U.S.C. § 1101(a)(1) (exempting top hat plans from fiduciary responsibilities);
18   Pane v. RCA Corp., 868 F.2d 631, 637 (3d Cir. 1989) (top hat plans “are not managed by
19   fiduciaries and involve no fiduciary obligations of plan administrators toward plan
20   participation”). The fact that Twitter specified a named fiduciary in the Plan document, and
21   confirmed that it is subject to ERISA fiduciary standards, further confirms that Twitter never
22   intended it to be a top hat plan. See Black, 2016 WL 11187255 (“the Plan must also operate as
23   a top hat plan”). The Court should not permit Defendants to renege, years later, on Twitter’s
24   promise to participants, as set forth in the Plan document, and again in the Claim Denial Letter
25   sent to Plaintiff. (See Bensur Decl. Ex. A at 1-2, 4.) They promised that the Plan would be
26   administered by an ERISA fiduciary, someone who is subject to the highest duties known to the
27   law, Howard v. Shay, 100 F.3d 1484, 1488 (9th Cir. 1996), and who is required to make
28   decisions “with an eye single to the interests of the participants,” Donovan v. Bierwirth, 680

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 1   F.2d 263, 271 (2d Cir. 1982).
 2          In its motion to dismiss reply brief in Personette, Defendants also suggest that the Plan
 3   does not meet requirements for an ERISA welfare plan based on certain DOL regulations (29
 4   C.F.R. § 2510.3-2), and therefore must be an ERISA pension plan. But this argument also fails.
 5   Defendants misconstrue the DOL regulations by suggesting, incorrectly, that under the
 6   regulations, all plans providing severance or accelerated equity vesting over a certain value
 7   must be ERISA-governed pension plans, but this is not what the regulations say, and
 8   Defendants do not and cannot cite to any case so holding.
 9                  3. The Primary Purpose of the Plan Is Not to Provide for Deferred
10                      Compensation.
11          The Plan also cannot be a top hat plan because it does not meet the requirement that its
12   primary purpose is to “provide for deferred compensation.” See Duggan v. Hobbs, 99 F.3d 307,
13   310 (9th Cir. 1996). “A deferred compensation plan ‘is an agreement by the employer to pay
14   compensation to employees at a future date. The main purpose of the plan is to defer the
15   payment of taxes.’ The idea is to defer the receipt of compensation until retirement or
16   termination of employment, when the employee is in a lower tax bracket, thus reducing the
17   overall amount of taxes paid.” In re IT Group, Inc., 448 F.3d 661, 664 (3d Cir. 2006) (quoting
18   David J. Cartano, Taxation of Compensation & Benefits §§ 20.01 & 20.02[A] at 709-710
19   (2004)); see also Black’s Law Dictionary 383 (9th ed. 2010) (defining “defer” as “to postpone”
20   or “to delay”). But here, as alleged in the Complaint and as set forth in the Plan, the Plan
21   benefits—including cash severance, accelerated vesting of equity, and COBRA premiums—
22   become payable only if certain contingencies are met: a Change of Control, and an Involuntary
23   Termination within twelve months. (ECF No. 1-2 at 1-3.) There was no agreement between
24   Plaintiff and Twitter to defer receipt of compensation owed to Plaintiff until a future date, nor
25   could there be under this Plan, because the benefits were not owed or payable unless and until
26   the contingencies occurred. Then, if the contingencies did occur, the benefits became payable
27   immediately, as a lump sum. The Plan contains no deferral of any kind.
28          Defendants’ reliance on Duggan for the proposition that “severance benefits like those

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 1   provided under the Plan constitute deferred compensation,” (see Mot. at 14), is misplaced. The
 2   plan at issue in Duggan was nothing like the Plan at issue here. In Duggan, the Court held that
 3   a severance agreement provided for deferred compensation, and constituted an ERISA-governed
 4   top hat pension plan, based on the specific facts of the case, including that although the
 5   employee could have sought a lump sum payment of the severance, he instead negotiated for the
 6   employer to “provide him with lifelong retirement benefits” in the form of monthly payments
 7   payable until his death. 99 F.3d at 309, 310. That arrangement made the benefit a pension
 8   benefit, and its purpose was to defer or delay the receipt of compensation until a later date,
 9   which provides the individual with a tax advantage, instead of receiving a lump-sum payment.
10   This comports with the conclusion that “compensation is deferred when it is received by the
11   employee significantly after the services are rendered.” Id. at 311-12 (citing Temporary Treas.
12   Reg. § 1.404(b)–1T). Here, in stark contrast, the Plan provides for an immediate lump-sum
13   payment of benefits if the Change in Control and Involuntary Termination provisions are met,
14   and does not provide for any deferral of compensation. (See ECF No. 1-2 at 1 (“Upon a
15   Qualified Termination, you will be eligible to receive a lump-sum severance payment.”).)
16          Other than asserting, in conclusory fashion, that the Plan in this case is a deferred
17   compensation plan like the one in Duggan, Defendants articulate no reason why the severance
18   benefits provided under this Plan should be construed as deferred compensation. Instead,
19   Defendants seem to contend that all severance plans or agreements must constitute deferred
20   compensation. That is not the law—severance plans may be welfare or pension plans. See Fort
21   Halifax Packing Co. v. Coyne, 482 U.S. 1, at 7 n.5 (1987) (ERISA welfare benefit plans include
22   plans that pay severance benefits); Delaye v. Agripac, Inc., 39 F.3d 235, 237 (9th Cir. 1994)
23   (“[p]rovisions for severance pay may constitute an employee welfare benefit plan within the
24   meaning of ERISA.”); see also 29 C.F.R. § 2510.2-2 (noting that severance pay plans “shall not
25   be deemed to constitute an employee pension benefit plan or pension plan solely by reason of
26   the payment of severance benefits” if certain requirements are met).
27          In fact, in Ditchey v. Mechanics Bank, this Court addressed a change in control
28   severance plan indistinguishable from this Plan. The benefits under the Ditchey plan included

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 1   (a) severance pay equal to 200% of the employee’s compensation, (b) a prorated short-term
 2   incentive award, (c) reimbursement of COBRA premiums, (d) complete vesting of certain
 3   benefits, and (e) executive outplacement services, and this Court determined that the plan was
 4   an ERISA-governed employee welfare benefit plan (and thus, not a top hat pension plan that
 5   provided for deferred compensation). Case No. 15-cv-04103-JSC, 2016 WL 730290, at *3
 6   (N.D. Cal., Feb. 24, 2016) (citing Delaye, among other authorities). As in Ditchey, the Plan
 7   here provides for benefits that include: (a) a lump sum of cash severance equal to one year of
 8   the employee’s base salary, (b) payment of one year of COBRA premiums, and (c) accelerated
 9   vesting of equity. (Compl. ¶ 40; ECF No. 1-2 at 1.) Ditchey renders Defendants’ position
10   untenable.
11           Defendants’ other top hat plan authority, unlike this case, involved plans in which the
12   parties agreed that the plans provided deferred compensation. See Demery v. Extebank
13   Deferred Comp. Plan (B), 216 F.3d 283, 285 (2d Cir. 2000) (undisputed that plan “allowed
14   participants to defer up to 25% of their salary as contributions to the Plan,” with benefits
15   payable upon reaching retirement age, and at issue was whether the plan was funded or
16   unfunded); Collazo, 2015 WL 13917163, at *1 (undisputed that a supplemental executive
17   retirement plan provided pension benefits, and at issue was whether retiree medical benefits
18   provided under the same plan were also subject to top hat plan rules); Colburn, 448 F. Supp. 3d
19   at 518-19, 523-28 (undisputed that a plan was a supplemental executive retirement plan
20   intended to provide retirement income to specified employees, and at issue were questions
21   regarding the plan’s funding and covered employees). The Plan at issue here contains no
22   provision for deferred compensation nor any other form of retirement benefits.4
23
24   4
       In their reply brief in further support of their motion to dismiss the ERISA § 510 claim in
     Personette, Defendants argue that the Plan provides for deferred compensation because it
25
     provides equity awards, which are considered a type of “deferred compensation.” Personette,
26   Case No. 3:24-cv-06266-JCS, ECF No. 46 at 10. But this ignores the plain language of the
     Plan—these equity awards are granted pursuant to a different plan, (ECF 1-4 (Twitter, Inc. 2013
27   Equity Incentive Plan)), and the Plan provides for immediate vesting and payout, (ECF No. 1-2
     at 1), which does not constitute “deferred compensation.”
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 1           Defendants also rely on Callan, but that case further demonstrates why the Plan is not a
 2   top hat plan. 2010 WL 3452371. The Callan court held that, to constitute a top hat plan, the
 3   plan “must possess a retirement purpose and systematically provide for deferred income.” Id. at
 4   *8. Here, the Plan has no retirement purpose, and it does not systematically provide for the
 5   deferral of any income.
 6                    4. That the Plan Is Unfunded and the Participants Are Executives Do Not
 7                           Establish That The Plan Is a Top Hat Pension Plan.
 8           Defendants further argue that the Plan is a top hat plan because it is unfunded and
 9   offered to only a select group of highly compensated employees. Although both of those
10   elements are necessary for a plan to be considered a top hat plan, neither is sufficient to
11   establish a top hat plan.
12           Unfunded plans can constitute welfare benefit plans under ERISA. See ERISA §
13   301(a)(1), 29 U.S.C. § 1081(a)(1); Curtiss-Wright v. Schoonejongen, 514 U.S. 73, 78 (1995)
14   (“Nor does ERISA establish any minimum participation, vesting, or funding requirements for
15   welfare plans as it does for pension plans.”). That the Plan was unfunded does not establish that
16   it is a top hat plan.
17           That the Plan was, according to Defendants, offered to only a select group of
18   management or highly compensated Twitter employees also does not mean that it is a top hat
19   plan. Instead, as stated in Twitter’s May 2022 proxy statement, offering the Plan to key Twitter
20   executives was a strategy implemented by Twitter in order to retain key executives leading up
21   to, and through, a potential merger or other change in control event. (ECF No. 30-3 at 72.)
22                    5. Because Surcharge Is an Available Remedy for Plaintiff’s ERISA Section
23                           510 Claim, Defendants’ Motion Fails in Its Entirety.
24           Defendants’ only argument for dismissal of surcharge as a remedy for Plaintiff’s ERISA
25   § 510 claim is that the Plan is purportedly a “top hat” plan. Because that argument fails for the
26   reasons set forth above, Defendants’ Motion fails with respect to surcharge and, by extension,
27   fails in its entirety. Accordingly, upon concluding that Defendants’ Motion fails with respect to
28   surcharge, the Court may deny Defendants’ Motion without reaching any of Plaintiff’s
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 1   arguments regarding other available forms of equitable relief. See Agrawal v. Musk, WL
 2   4654442, at *5 (“In light of this finding [that surcharge is available], the Court does not address
 3   herein plaintiffs’ argument that they can demonstrate entitlement to other equitable remedies
 4   . . . .”); see also Beverly Oaks Physicians Surgical Ctr., LLC v. Blue Cross & Blue Shield of
 5   Illinois, 983 F.3d 435, 442 (9th Cir. 2020) (where plaintiffs sufficiently alleged waiver in
 6   support of claim for benefits, that was sufficient for claim to proceed without court considering
 7   entitlement to estoppel).
 8                      B. The Complaint Adequately Pleads the Availability of Front Pay.
 9          The Complaint also adequately pleads the availability of front pay, which is another
10   equitable remedy for a violation of ERISA § 510. See Teutscher v. Woodson, 835 F.3d 936, 948
11   (9th Cir. 2016) (reviewing award of front pay as an equitable remedy for a violation of ERISA
12   § 510); Greenburg v. Life Ins. Co. of N. Am., No. 08-CV-03240, 2009 WL 1110331, at *3 (N.D.
13   Cal. Apr. 23, 2009) (“Reinstatement of employment, front pay and back pay may be an
14   appropriate remedy under § 1132(a)(3) if an employer discharges or otherwise discriminates
15   against an employee to avoid paying benefits or in retaliation for exercising rights under a
16   benefit plan.”). Indeed, “[t]he characterization of front pay as an equitable remedy is consistent
17   with the general nature of front pay in the context of other employment-related statutes.”
18   Traxler v. Multnomah Cnty., 596 F.3d 1007, 1012 (9th Cir. 2010).
19          According to the Complaint, Plaintiff worked faithfully to assist Musk with the
20   ownership transition and continued working with him after the transition. (See Compl. ¶¶ 4, 58-
21   66, 70 (Plaintiff was Musk’s point person at Twitter, connecting with Musk’s inner circle
22   including his Chief of Staff and counsel); ¶¶ 106-118 (Plaintiff immediately traveled to
23   California at Musk’s behest to work on the transition); ¶¶ 67-70 (Plaintiff continued to work
24   with Musk and at Twitter after Musk’s acquisition of Twitter).) Plaintiff was surprised by the
25   termination from a company she felt passionately about and to which she had been devoted, and
26   she expressed her surprise to Musk right after discovering she was being escorted out of
27   Twitter’s New York office by security. (Id. ¶ 8.) And Plaintiff, unlike other executives, never
28   tendered a resignation at any time. On these facts, one available remedy for Defendants’

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 1   unlawful conduct is front pay. See Blaj v. Stewart Enterprises, No. 09CV0734-LAB RBB,
 2   2011 WL 669134, at *3 (S.D. Cal. Feb. 14, 2011) (“If Blaj’s termination was indeed wrongful
 3   under ERISA, she may be entitled to front pay as equitable relief in lieu of reinstatement.”);
 4   Wooten v. BNSF Ry. Co., 387 F. Supp. 3d 1078, 1102 (D. Mont. 2019), aff’d, 819 F. App’x 483
 5   (9th Cir. 2020) (“Wooten was wrongfully terminated by [defendant], cutting short what he
 6   hoped would be a lifetime career with great benefits and excellent pay.”).
 7          Defendants ignore the substance of the Complaint to argue that Plaintiff has not alleged
 8   “any expectation of remaining employed at Twitter following the October 2022 acquisition,”
 9   self-servingly characterizing Plaintiff’s employment prior to the wrongful conduct as “in
10   doubt.” (Mot. at 13.) For support, Defendants rely entirely on Paragraph 56 of the Complaint,
11   which states only that Musk had already fired other executives. (See Compl. ¶ 56.) But
12   construed in the light most favorable to Plaintiff, as it must be, this allegation actually cuts
13   against Defendants. Musk’s termination of other executives while he continued to work with
14   Plaintiff, reposed trust in her, and retained her beyond the acquisition date shows that Plaintiff
15   rightly had an expectation that her employment would continue beyond the acquisition.
16   (Compl. ¶¶ 56, 58, 65, 68.) Indeed, her employment did continue beyond the acquisition.
17   (Compl ¶¶ 58, 59.) Similarly ignored by Defendants is Plaintiff’s allegation that the termination
18   caught her by “[s]urprise” (id. ¶ 8), which is understandable given that she was the sole
19   executive assisting in the transition and had not been among the executives Musk had initially
20   decided to terminate (Compl. ¶¶ 56, 58).
21          Similarly unpersuasive are Defendants’ citations to Judge Chesney’s decisions in
22   Agrawal and Caldwell for the proposition that Plaintiff is not entitled to front pay because the
23   Complaint did not allege that Plaintiff would have continued working for Twitter after the
24   merger. (Mot. at 13.) Neither of those cases—nor the Personette case, where Defendants make
25   an almost identical argument—have fact patterns like Plaintiff’s. The plaintiffs in Agrawal,
26   Caldwell, and Personette all resigned or intended to resign, a fact Judge Chesney relied on in
27   her decisions. See Agrawal, 2024 WL 4654442, at *4 n.5; Caldwell, 2024 WL 4654272, at *4.
28   Those plaintiffs were not entitled to front pay because they intended to leave their employment

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 1   at the same time they were terminated. That is not the case here, where Plaintiff never resigned
 2   and was surprised by her termination. (Compl. ¶ 8.) Comparing Plaintiff to the plaintiffs in the
 3   Agrawal, Caldwell, and Personette merely highlights how different Plaintiff’s circumstances
 4   were from the others’.
 5          Lastly, Defendants make much of a supposed requirement to show the amount a plaintiff
 6   was “reasonably certain” to have earned “but for [her] wrongful discharge.” Teutscher, 835
 7   F.3d at 948. But Defendants get ahead of themselves. Teutscher instructs that such a
 8   calculation is for the finder of fact to decide upon the presentation of testimony and other
 9   evidence. Id. The Complaint sufficiently alleges an entitlement to front pay, the amount of
10   which should be determined based upon the evidence. For this independent reason, Defendants’
11   Motion should be denied.
12                      C. The Complaint Adequately Pleads the Availability of Back Pay.
13          The Complaint also adequately pleads the availability of back pay. Defendants do not
14   dispute that Plaintiff’s Complaint contains sufficient factual matter supporting an award of back
15   pay; instead, they argue only that back pay “is simply not equitable relief under ERISA.” (Mot.
16   at 13-14.) Defendants do not identify any binding authority supporting that broad statement,
17   and Plaintiff is aware of none. Instead, Defendants rely on the Tenth Circuit case of Millsap v.
18   McDonnell Douglas Corp., 368 F.3d 1246, 1260 (10th Cir. 2004), in which the Court found that
19   a “freestanding claim for backpay” was precluded. Defendants fail to acknowledge, however,
20   that the Sixth Circuit has concluded that back pay is properly characterized as equitable relief
21   under ERISA. See Schwartz v. Gregori, 45 F.3d 1017, 1022-23 (6th Cir. 1995) (“[W]e
22   conclude that the back pay awarded here constituted restitution, and therefore is an equitable
23   remedy available under § 502(a)(3).”). What is more, the Ninth Circuit has not weighed in on
24   this circuit split and, indeed, in Teutscher, the other case Defendants cite here, the Ninth Circuit
25   expressly declined to reach the issue. See Teutscher, 835 F.3d at 946 n.3 (“The district court in
26   this case held that back pay is unavailable under ERISA. Because Teutscher has not appealed
27   that decision, we do not reach that issue here.”). Courts in this circuit have nevertheless
28   followed the Sixth Circuit and found that back pay is an appropriate remedy for violation of

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 1   ERISA § 510. See Acosta v. FCE Benefit Administrators, Inc., No. 17-CV-05448-JSW, 2018
 2   WL 11447534, at *10 (N.D. Cal. Jan. 22, 2018) (noting circuit split and declining to dismiss
 3   claim for back pay); Perez v. Brain, 14-cv-03911-JAK, 2015 WL 3505249, at *11 (C.D. Cal.
 4   Jan. 30, 2015) (noting that “[b]ack pay, as restitutionary relief, is an equitable remedy”).
 5          Under these circumstances, Defendants have not met their burden to show that back pay
 6   is, as a matter of law, unavailable as an equitable remedy in this case. For this independent
 7   reason, Defendants’ Motion should be denied.
 8                      D. The Complaint Adequately Pleads the Availability of Restitution and
 9                          Disgorgement.
10          The Complaint also adequately pleads the availability of restitution and disgorgement.
11   Restitution and disgorgement are forms of equitable relief available under ERISA § 502(a)(3)
12   so long as they target property in a defendant’s possession. Depot, Inc. v. Caring for
13   Montanans, Inc., 915 F.3d 643, 661-65 (9th Cir. 2019); Zavala v. Kruse-W. Inc., 2021 WL
14   5883125, at *6-7 (E.D. Cal. Dec. 13, 2021). Restitution targets “property identified as
15   belonging . . . to the plaintiff” while disgorgement targets “the ‘proceeds’ from disposing of
16   [such] property as well as ‘profits derived’ from the illicit use of that property.” Id. at 661, 664.
17   In Depot, the Ninth Circuit set forth three methods by which a plaintiff could allege that the
18   money or property sought is in the possession of defendants and therefore state a claim for such
19   relief under § 1132(a)(3). First, a plaintiff may “identif[y] a specific fund to which they are
20   entitled.” Depot, 915 F.3d at 662. Second, a plaintiff may allege “the existence of a general
21   account in which the ill-gotten funds . . . were commingled, such that the product of those funds
22   would be traceable.” Id. at 663. And third, a plaintiff may allege that defendants’ “account
23   balance remained above the [alleged] amounts” for purposes of the “lowest intermediate
24   balance” theory. Id. at 664.
25          Defendants argue that the Complaint does not allege “a specific, identifiable fund to
26   which [plaintiff is] entitled” and, therefore, as Judge Chesney found in Caldwell, restitution and
27   disgorgement are unavailable. (Mot. at 11.) But the Complaint here does allege entitlement to
28   identifiable funds when it alleges that Plaintiff was terminated with an eye towards depriving

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 1   her of specific, lump-sum benefits that were due to paid in the near future (Compl. ¶ 46),
 2   allegations which give rise to an inference that Plaintiff’s property was at one time specifically
 3   identified by Defendants such that those funds can be traced to where they reside today. It is
 4   true, of course, that Plaintiff cannot now identify with specificity the account in which such
 5   funds were held and where, if anywhere, Defendants have since moved those funds. All of this
 6   is information uniquely in the possession of Defendants. But Depot does not require a plaintiff
 7   to allege such details beyond the fact that the monies are in possession of Defendants, 915 F.3d
 8   643, at 661-65, and Plaintiff should be permitted to establish in discovery the location of these
 9   identifiable funds. As another court has explained, “the identity of a specific fund, whether
10   particular assets were commingled in a general account, and whether defendants’ account
11   balances remained above a specific dollar amount, is information likely to be unavailable to
12   plaintiff in the absence of discovery. So long as plaintiff has a good faith basis for his
13   allegations, such facts need be alleged only generally.” See Zavala, 398 F. Supp. 3d at 742 n.3.
14   The Court should therefore permit Plaintiff to take discovery regarding what Defendants did
15   with the funds that were owed to her so that she can establish her right to restitution and
16   disgorgement of those funds. In all events, to deny Plaintiff of an otherwise available remedy
17   due to her inability to plead specifics about what Defendants did with monies that were owed to
18   her would be inappropriate at this early stage.
19    V.    CONCLUSION
20          For these reasons, the Court should deny Defendants’ Motion to Dismiss. In the
21   alternative, if the Court grants any part of the Motion, Plaintiff respectfully requests leave to
22   amend her Complaint pursuant to Federal Rule of Civil Procedure 15.
23
     Dated: February 4, 2025                        Respectfully submitted,
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                                            By:             /s/Gabriella E. Bensur
26
                                                    RENAKER SCOTT LLP
27                                                  Kirsten G. Scott
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